                        UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION


 In the Matter of:                       }
                                         }
 Madison Chiropractic & Nutrition        }              Case No. 18-82075 -CRJ-11
 Center, LLC                             }
 Tax ID/EIN: XX-XXX-0856                 }              Chapter 11
                                         }
                                  Debtor }



    ORDER SETTING DEADLINE TO FILE CHAPTER 11 PLAN AND DISCLOSURE
          STATEMENT AND SETTING BAR DATE FOR FILING CLAIMS

         On July 25, 2018, a Status Conference was held in this case pursuant to 11 U.S.C. '
 105(d) to discuss the expeditious and economical resolution of this case, including scheduling
 deadlines. Appearing at the hearing were Tazewell Taylor Shepard, IV, Esq., counsel for the
 Debtor, and Richard Blythe, Esq., counsel for the Bankruptcy Administrator.
         At the Status Conference, discussion was had regarding the procedural status of the case,
 and suggestions were solicited regarding a realistic, reasonable deadline for the Debtor to file a
 Disclosure Statement and Plan, and a reasonable bar date for filing claims. Based upon the
 foregoing,
         IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
         1. Pursuant to Bankruptcy Rule 3016(b), the deadline to file the Debtor=s Chapter 11 Plan
              and Disclosure Statement is fixed as Thursday, January 10, 2019, by 5:00 p.m., CDT.
         2. Pursuant to Bankruptcy Rule 3003(c), the deadline for all creditors to file a Proof of
              Claim is Tuesday, October 23, 2018, by 5:00 p.m., CDT.
         3. Counsel for the Debtor is directed to immediately give notice of the Claims Bar Date
              by mailing a copy of this Order to the Debtor, all creditors, governmental units, Richard
              Blythe for the Bankruptcy Administrator=s office, and all parties requesting notice.

 Dated this the 26th day of July, 2018.

                                                                /s/ Clifton R. Jessup, Jr.
                                                                Clifton R. Jessup, Jr.
                                                                United States Bankruptcy Judge


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